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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - -          x
UNITED STATES OF AMERICA                 :
                                         :
         - v -                           :
                                         :           11 Cr. 819 (RRM)
FARUQ KHALIL MUHAMMAD‘ISA,               :
            Defendant.                   :
- - - - - - - - - - - - - - - -          x



FARUQ KHALIL MUHAMMAD ‘ISA’S REQUEST TO HAVE CERTAIN PORTIONS OF
  THE TRANSCRIPT OF HIS GUILTY PLEA FILED UNDER SEAL UNTIL THE
    COURT ACCEPTS THE PLEA AND ENTERS AN ORDER OF CONVICTION




                                   Federal Defenders of New York
                                   Sabrina Shroff
                                   Samuel I. Jacobson
                                   Mildred M. Whalen
                                   Attorneys for Defendant
                                        Faruq Khalil Muhammad ‘Isa
                                   1 Pierrepont Plaza, 16th Floor
                                   Brooklyn, NY 11201
                                   Tel.: (718)330-1200


TO:        RICHARD P. DONOGHUE, ESQ.
           United States Attorney
           Eastern District of New York
           271 Cadman Plaza East
           Brooklyn, NY 11201

Attn:      Assistant U.S. Attorney Peter Baldwin
           Assistant U.S. Attorney Tiana Demas
           Assistant U.S. Attorney Alexander Solomon
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      Pursuant to this Court’s order of March 6, 2018, Faruq

Khalil Muhammad ‘Isa submits this memorandum of law in support

of his application to seal limited portions of the transcript of

his guilty plea. In light of the unique facts of this case, the

Court should grant Mr. ‘Isa’s request and seal that portion of

his guilty plea transcript which records the stipulated facts

underlying his plea of guilty. The requested sealing is not only

limited in scope but also in duration; the defense agrees that

the entire allocution should be unsealed once the Court accepts

Mr. ‘Isa’s guilty plea.

I.    Mr. ‘Isa’s Guilty Plea.

      Mr. ‘Isa pled guilty to Count One of the superseding

indictment on March 6, 2018, pursuant to a plea agreement with

the government. As part of the plea agreement, both the

government and the defense stipulated to a set of facts which

form the basis of the guilty plea and were intended for the

Court as a written allocution by Mr. ‘Isa. This set of facts was

incorporated into the plea agreement as Exhibit A.           Pursuant to

Rule 11(c)(3)(A), the Court held a plea hearing but deferred

accepting the guilty plea until it had the opportunity to review

the pre-sentence report.

      At the end of the plea proceeding, the Court inquired as to

the continued sealing of the plea agreement and Exhibit A. Both

the government and the defense agreed the documents should
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remain sealed until the Court decided whether to accept Mr.

‘Isa’s guilty plea.     Because the contents of Exhibit A were read

verbatim into the record during the plea colloquy, the defense

sought sealing of that portion of the transcript of the

proceedings as well. The government, because of Department of

Justice rules, was compelled to take no position on this

request.

II.   The Legal Framework.

      The public has a “qualified First Amendment right to attend

judicial proceedings and to access certain judicial documents.”

Hartford Courant Co. v. Pellegrino, 380 F.3d 83, 91 (2d Cir.

2004).   The Second Circuit has found that “the public and the

press have a qualified First Amendment right of access to plea

proceedings and plea agreements.”        United States v. Alcantara,

396 F.3d 189, 196 (2d Cir, 2005).

      However, “[t]he First Amendment right of access to criminal

proceedings is not absolute.”       In re New York Times Co., 828

F.2d 110, 116 (2d Cir. 1987).       “A court’s conclusion that a

qualified First Amendment right of access to certain judicial

documents exists does not end the inquiry.          ‘[D]ocuments may be

sealed if specific, on the record findings are made

demonstrating that closure is essential to preserve higher

values and is narrowly tailored to serve that interest.’”



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Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 120 (2d Cir.

2006) (quoting New York Times Co., 828 F.2d at 116).

      As the party “seeking to maintain sealing,” Mr. Isa bears

“the burden of establishing that continued sealing is

warranted.”    In re Application to Unseal 98 Cr. 1101 (ILG), 891

F. Supp. 2d 296, 299 (E.D.N.Y. 2012).         A defendant seeking only

partial sealing need only establish a “substantial reason” for

doing so, not a “compelling interest.”         United States v. Doe, 63

F.3d 121, 128-29 (2d Cir. 1995); Woods v. Kuhlman, 977 F.2d 74,

76 (2d Cir. 1992).

      The Second Circuit applies a four-factor test in deciding

whether to close a proceeding, and this test has been extended

to decisions to seal documents.

“First, the district court must determine, in specific findings
made on the record, if there is a substantial probability of
prejudice to a compelling interest of the defendant, government,
or third party, which closure would prevent. . . . Second, if a
substantial probability of prejudice is found, the district
court must consider whether reasonable alternatives to closure
cannot adequately protect the compelling interest that would be
prejudiced by public access. Third, if such alternatives are
found wanting, the district court should determine whether,
under the circumstances of the case, the prejudice to the
compelling interest overrides the qualified First Amendment
right of access. Fourth, if the court finds that closure is
warranted, it should devise a closure order that, while not
necessarily the least restrictive means available to protect the
endangered interest, is narrowly tailored to that purpose.”

Doe, supra, at 128(internal quotation marks, citations, and

footnote omitted).     See also United States v. Silver, 2016 WL



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1572993, at *6 & n.4 (S.D.N.Y. Apr. 14, 2016) (applying Doe to

sealing decision).

III. The Doe Factors Support Continued Sealing.

   1. Sealing a portion of the transcript would prevent a
      substantial probability of prejudice to a compelling
      interest of Mr. ‘Isa.

      With respect to the first Doe factor, Mr. Isa has a

‘compelling interest’ in that he has a Sixth Amendment right to

an impartial jury, one which has not heard him admit to his

guilt.

      Should the Court not seal the factual portion of the guilty

plea, the media would have access to the plea transcript and

could quote or print the factual portion of the guilty plea in

its entirety.    Individuals following the case would also have

the ability to access the transcript and could post the factual

portion of the allocution on websites, blogs, or a series of

tweets.

      This ability of the public to review the allocution prior

to trial would severely taint the potential jury pool,

especially in a case where the charges alone will make it

difficult to choose a jury free of bias; a jury willing to

presume Mr. ‘Isa not guilty of the charges; and a jury willing

to consider the evidence in its entirety before reaching a

determination as to whether the charges have been proven beyond


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a reasonable doubt.     While potential jurors could be questioned

about what they knew of Mr. ‘Isa’s guilty plea, simple

questioning would not resolve the issue.         The parties and the

Court would have to ferret out the juror who could truly set

aside not only any knowledge of a previously entered voluntary

guilty plea, but then further set aside knowledge of Mr. ‘Isa’s

specific confession in the plea allocution, and then truly judge

the facts of Mr. ‘Isa’s case free from that knowledge. Unsealing

the stipulated facts of Mr. Isa’s guilty plea would create a

strong probability of harm in an already difficult jury

selection.

      As detailed above, Mr. ‘Isa has demonstrated a substantial

probability of prejudice to his interest in an impartial jury

were his guilty plea unsealed in its entirety. Additionally, in

this case, the government itself agreed to continued sealing of

the plea agreement and the stipulated facts, given their

concerns of finding an unbiased jury should the plea not be

accepted. The government argued that sealing promoted that

compelling interest.      That interest, and the utility of sealing,

remain until the Court decides whether to accept the plea.




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   2. Reasonable alternatives do not exist that would adequately
      protect Mr. ‘Isa’s compelling interest against the
      prejudice of public access.

      With respect to the second Doe factor, because disclosure

of the factual portion of his allocution will endanger Mr.

‘Isa’s right to an impartial jury, the only way to protect that

interest is to keep that portion of his guilty plea under seal.

Again, Mr. ‘Isa is not seeking complete sealing of the

transcript, but only that small portion detailing the facts

underlying his admission of guilt, and only until the Court

makes a decision whether to accept the guilty plea.

   3. Mr. ‘Isa’s compelling interest overrides the public’s
      qualified right of access, and that right has been
      substantially protected.

      With respect to the third Doe factor, the public’s

qualified First Amendment right of access does not supersede Mr.

Isa’s personal Sixth Amendment right to an impartial jury.

      Furthermore, in this case, the public’s right to qualified

access to the guilty plea has been substantially protected.             The

guilty plea proceeding itself was open to the public. Numerous

members of the public and the press were present in the

courtroom.    They heard the recitation of the statutory penalties

Mr. ‘Isa is facing; they heard the proposed sentence in the plea

agreement; and they were able to observe Mr. ‘Isa during the

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proceeding to confirm that he was competent to offer his plea

and that the plea was not coerced or forced.

      Had Exhibit A simply been referenced as part of the plea

agreement and adopted by Mr. ‘Isa during the allocution(as had

been planned), the public would not have had access to the

factual allocution, beyond being present in the courtroom at the

time of the plea, until the Court decided whether to accept the

guilty plea.    At the guilty plea proceeding, after the

allocution, the government asked to have the plea agreement and

its attachments maintained under seal until the Court had made a

decision to accept the guilty plea, and the Court agreed.            The

defense, recognizing the futility in keeping the plea agreement

and its attachments sealed if the portion of the plea transcript

where those facts were read into the record was not sealed,

asked to have that portion of the transcript sealed as well.

The defense is not seeking any greater restriction of the

public’s right of access to the proceedings than the government

and the Court have already agreed to in sealing the plea

agreement and its attachments.

           Additionally, the fact that Mr. ‘Isa admitted to facts

in support of his plea in open court is not a basis to require

that portion of the transcript to remain unsealed.           See United

States v. Armstrong, 185 F. Supp. 3d 332, 338 (E.D.N.Y.

2016)(Gershon, J.)(“Here, the open proceedings. . .           enabled the

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public to learn the reasons behind that sentence and met the

important public interests in access to sentencing proceedings

articulated in Alcantara,. . . maintaining the government’s

letters under seal will not disturb the basic fairness of the

criminal trial and the appearance of fairness so essential to

public confidence in the system.”)(internal quotations and

citations omitted); Pascal Abidor, National Association of

Criminal Defense Lawyers v. Johnson, 2016 WL 3102017, *8

(E.D.N.Y. 2016)(Korman, J.)(sealing description of forensic

contents of laptop when all proceedings have been open and other

relevant materials have been made available does not undermine

First Amendment presumptive right of access).

   4. The defense is proposing the least restrictive means
      available to protect Mr. ‘Isa’s endangered interest, and
      that means is narrowly tailored to that purpose.

      With respect to the fourth Doe factor, the defense has

proposed very narrow tailoring: first, that the Court limit

sealing to that portion of the plea transcript containing the

stipulated facts; and second, that the Court set a durational

limit by maintaining sealing on a provisional basis until the

plea is formally accepted. 1 This is the least restrictive means




1 Should the Court not accept Mr. ‘Isa’s guilty plea, the parties can revisit

the issue of whether this portion of the plea transcript should remain sealed
until the conclusion of new plea proceedings or a jury trial.
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available to protect Mr. ‘Isa’s right to an impartial jury and

is very narrowly tailored to that purpose.

IV. Conclusion.

      Mr. ‘Isa has demonstrated a compelling interest in sealing

one portion of the transcript of his guilty plea.           He agrees

that portion should be unsealed if the Court accepts his guilty

plea. His interest and the narrow sealing he proposes override

the public’s limited right of access to his plea proceedings,

especially since the public’s right of access was substantially

protected by the courtroom being open to the public during the

guilty plea. For the foregoing reasons, this Court should grant

Mr. ‘Isa’s limited application to seal that portion of the

guilty plea that recites the stipulated facts.



                                    Respectfully submitted,
                                    Federal Defenders of New York

                                    /s/
                                    Mildred Whalen
                                    Samuel I. Jacobson
                                    Sabrina Shroff




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